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 2   District of Arizona
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 6   Attorneys for Plaintiff
 7                        IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9
10    United States of America,                            CR 19-01543-TUC-RCC (LAB)

11                           Plaintiff,                   SENTENCING MEMORANDUM
             vs.
12
      Silvio Bertilio Cruz-Velasquez,
13
                             Defendant.
14
15          Plaintiff, United States of America, by its attorneys, MICHAEL BAILEY, United
16   States Attorney, and RYAN J. ELLERSICK, Assistant United States Attorney, hereby
17   submits the following sentencing memorandum in connection with the Presentence

18   Investigation Report (“PSR”), which was issued in reference to Silvio Bertilio Cruz-

19   Velasquez.

20          The United States has no objection to the guideline calculations in the PSR and

21   agrees with the Probation Office that a sentence of 18 months of imprisonment is an

22   appropriate disposition of the case. The PSR outlines a lengthy history of arrests and

23   criminal convictions, which indicate the defendant lacks any respect for the laws of the

24   United States and poses a risk of harm to the community. A sentence of 18 months is

25   therefore warranted in order to promote deterrence and respect for the law, and to protect

26   the community from the defendant’s criminal activity.

27          The United States also recommends that the Court impose a three-year term of

28   supervised release as an added deterrent to the defendant returning to the country illegally.
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 2         Respectfully submitted this 13th day of September 2019.
 3                                            MICHAEL BAILEY
                                              United States Attorney
 4                                            District of Arizona
 5                                            s/ Ryan J. Ellersick
 6                                            RYAN J. ELLERSICK
                                              Assistant U.S. Attorney
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 8   Copy of the foregoing served electronically or by
     other means this 13th day of September 2019, to:
 9   Raul Miranda, Esq.
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